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                  UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                   :     Civil Action
PRESIDENT, INC.; et al.,              :
                                      :
            Plaintiffs,               :
                                      :     Case No. 2:20-CV-00966-NR
      vs.                             :
                                      :
KATHY BOOCKVAR; et al.,               :
                                      :     Judge J. Nicholas Ranjan
            Defendants.               :


                          NOTICE OF APPEARANCE

TO THE CLERK OF THE DISTRICT COURT:

      Kindly enter my appearance on behalf of Defendant, Lycoming County

Board of Elections, in the above captioned matter.

                                      Respectfully submitted,

                                      McCORMICK LAW FIRM


                                      By: /s/ J. David Smith
                                          J. David Smith,
                                          I.D. No. 27813
                                          Attorney for Defendant
                                          Lycoming County Board of Elections

                                            835 West Fourth Street
                                            Williamsport, PA 17701
                                            (570) 326-5131
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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that all counsel of record who are deemed

to have consented to electronic service are being served with a true and correct

copy of this document via the Court’s CM/ECF system, pursuant to the Federal

Rules of Civil Procedure.


                                       McCORMICK LAW FIRM



                                       By: /s/ J. David Smith
                                           J. David Smith,
                                           I.D. No. 27813
                                           Attorney for Defendant
                                           Lycoming County Board of Elections

                                             835 West Fourth Street
                                             Williamsport, PA 17701
                                             (570) 326-5131



Dated: 07/**/2020
